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UNITED STATES DISTRICT COURT FILED
FOR THE DISTRICT OF COLUMBIA MAR - 6 2020
'§. District & Bankruptcy
UNITED STATES OF AMERICA ier, or ihe District of Columbia

Vv.
Crim. No. 17-232 (EGS)
MICHAEL T. FLYNN,

Defendant

 

” ORDER
Upon consideration of the parties’ joint stipulation addressing issues surrounding waiver
of the attorney-client privilege with respect to the defendant’s ineffective assistance of counsel
claims and authorizing disclosure of information, it is hereby ORDERED that defendant Flynn’s
former counsel at Covington & Burling, LLP (“Covington”), and any other person acting under
the direction of former counsel on the defendant’s behalf, shall take all actions reasonably
necessary to respond to czfendant Flynn’s specific allegations of ineffective assistance of counsel
as Set out in defendant’s motions, including defendant Flynn’s Motion to Withdraw Plea of Guilty
(Doc. 151, filed January 14, 2020), Supplemental Brief in Support of Motion to Withdraw Plea of
Guilty (Doc. 153, filed January 16, 2020), and Supplemental Motion to Withdraw Plea of Guilty
(Doc. 160, filed January 29, 2020). Such actions shall include:

A. disclosing, as reasonably necessary, otherwise

confidential or privileged information in communicating with

government counsel about Covington’s representation of defendant

Flynn as it relates to defendant Flynn’s specific allegations of
ineffective assistance:

B. providing to government counsel any relevant documents
in Covington’s possession that are reasonably necessary to respond
to defendant Flynn’s specific allegations of ineffective assistance of
counsel;
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C. providing a declaration or affidavit, as reasonably
necessary to address defendant Flynn’s specific allegations of
ineffective assistance;

D. testifying at any evidentiary hearing, if one is needed, as
reasonably necessary to respond to defendant Flynn’s specific
allegations of ineffective assistance of counsel.

It is further ORDERED that any interviews of Mr. Flynn’s former counsel shall be
conducted in the presence of a certified court reporter; the government shall promptly provide to
the defense a copy of the resulting transcriptions, as well as copies of all documents or records that
are produced by Covington, all materials used in inttrviews of potential witnesses, and any adopted
versions of declarations or affidavits created by or on behalf of a witness, as set forth in the joint
stipulation between the parties. All information produced by Covington to the government
pursuant to this Order shall be governed by the terms set forth in the parties’ joint stipulation and
the previously-existing Protective Order and shall be deemed “sensitive materials” until further
agreement by the parties or order of this Court. (Doc.22).

It is further ORDERED that the government’s use of any information provided by
Covington, and any other person acting on defendant Flynn’s behalf with former counsel in this
case, is solely limited to obtaining and providing to the Court a declaration, an affidavit or
testimony at an evidentiary hearing (if one is necessary) from these counsel, and any other person
acting at the direction of former counsel on defendant Flynn’s behalf in this case, in response to
the claims of ineffective assistance of counsel in defendant Flynn’s motions to withdraw his guilty
plea, and to any further litigation on those motions, including any appeal of the Court’s ruling on
those motions, and any collateral attacks by defendant Flynn. It may not be used by the
government in any other proceeding against Mr. Flynn.

It is further ORDERED that Covington shall consult Ethics Opinion 364 of the District of

Columbia Bar, Confidentiality Obligations When Former Client Makes Ineffective Assistance of
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Counsel Claim (Jan. 2013), for further guidance as to the scope of their ethical obligations in

responding to defendant Flynn’s allegations.
IT IS SO ORDERED.

The Honorable Emmet G. Sullivan
United States District Judge
